           Case: 23-2366                  Document: 134               Filed: 03/29/2024      Pages: 1



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                       Office of the Clerk
        United States Courthouse
                                                                                      Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                      www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                           ORDER
March 29, 2024

By the Court:
                                     K.C., et al.,
                                                     Plaintiffs - Appellees

                                     v.
No. 23-2366

                                     INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING
                                     BOARD OF INDIANA, et al.,
                                             Defendants - Appellants
Originating Case Information:
District Court No: 1:23-cv-00595-JPH-KMB
Southern District of Indiana, Indianapolis Division
District Judge James P. Hanlon


On March 25, 2024, this court received a “Petition for Rehearing En Banc as to Sua Sponte Stay
of Preliminary Injunction” from appellees. Because this court has not entered judgment in this
appeal, the court construes the document as a motion requesting en banc reconsideration. 7th
Cir. Op. P. 1(a)(2). Accordingly,

IT IS ORDERED that the clerk of this court shall file INSTANTER the motion, so construed,
and DISTRIBUTE the motion, along with a copy of this order, to all judges entitled to vote on
whether this court’s February 27, 2024, order staying the preliminary injunction should be
reconsidered en banc.




form name: c7_Order_BTC        (form ID: 178)
